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         Case 1:17-cr-20275-UU Document 63 (Court only)                                       Entered on FLSD Docket 04/27/2021
                                           Page 1 of 2
AO 83 (Rev. 06/09) Summons in a Criminal Case


                                                   UNITED STATES DISTRICT COURT
                                                                              for the
                                                                    Southern District of Florida

                     United States of America                                    )
                                           v.                                    )
                                                                                 )
                                                                                 )      Case No. 17-20275-CR-UNGARO
                                                                                 )
                              Kevin C. Fusco                                     )
                                     Defe11dc111t                                )

                                                             SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

D Indictment                     D Superseding Indictment                 D Information [Superseding Information                       •   Complaint
D Probation Violation Petition                         !Z1 Supervised Release Violation Petition D Violation Notice                  D Order of Court


Place: James Lawrence King Federal ,Justice Building                                            Courtroom No.
                                                                                                                       10-5
       99 N.E. Fourth Street Miami, FL 33132

Pursuant to Administrative Order 2020-33, a mask must be worn at Date and Time:                                        5/11/2021 at 2:00 PM
all times in a federal courthouse facility.                                                                            (Report to the USMS cellblock
                                                                                                                        at I 0:00 AM for processing)
         This offense is briefly described as follows:
    I.   Violation of Mandatory Condition, by failing to refrain from violation of the law.

                                                                                                                                     FILED BY.r_r.....;::::.--D.C.

                                                                                                                                            /i,PR 3 n 2021
                                                                                                                                             ANGELA E. NOBLE
                                                                                                        s/Kiara Snipes                      CLERK U.S. DIST. CT.
Date:               4/27/2021
              - - ----- ""···-·-"-"""'"·"=·----"-"--
                                                                                                                                                        .-MIAMI
                                                                                                       Issuing officer's signatllr

                                                                                                __ KiarnSnipes -))eput)'. Clerk ______
                                                                                                        Prinled name and title



I decr·under penalty of perjury that I have:

ro,txecutcd and returned this summons                                                                   ons unexecuted



Date:

                                                                                     . . 11. ~.--..   ~c::r:i~::i:~J__J?fl _
                                                                                                        Primed name and title
